






NO. 07-00-0587-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



SEPTEMBER 4, 2001



______________________________




ADOLPH MAZUR, JR., APPELLANT



V.



ULTRA CLEAN, INC., APPELLEE




_________________________________



FROM THE COUNTY CIVIL COURT AT LAW NO. 2 OF HARRIS COUNTY;



NO. 724,520; HONORABLE GARY MICHAEL BLOCK, JUDGE



_______________________________



Before BOYD, C.J., and REAVIS and JOHNSON, JJ.

	Appellant Adolph Mazur, Jr. appeals from a money judgment against him for tortious
interference with a business relationship.  The clerk's record was filed on December 21,
2000, and the reporter's record was filed on February 15, 2001.  That being so, appellant's
brief was due to be filed no later than March 19, 2001.  Appellant was notified by letter
dated May 14, 2001, that the brief had not been filed and, unless a response was received
by May 25, 2001, the appeal would be subject to dismissal for want of prosecution.  

	On May 25, appellant filed a motion for extension of time to file his brief which was
granted until July 9, 2001.  On August 14, 2001, appellant was again notified that his brief
had not been filed and that, unless a response was received by August 24, 2001,
reasonably explaining that failure together with a showing that appellee had not been
significantly injured due to that failure, the appeal would once again be subject to dismissal
for want of prosecution.  Tex. R. App. P. 38.8(a)(1).  We have received no such response.

	Accordingly, the appeal must be and is hereby dismissed. 


							Per Curiam

Do not publish. 


